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                          THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

   DISPLAY TECHNOLOGIES, LLC,

                          Plaintiff,                   Civil Action No. 2:15-cv-998-JRG-JRP
                    v.                                    CONSOLIDATED LEAD CASE
   NVIDIA CORPORATION, et al.,                              JURY TRIAL DEMANDED
                          Defendant.


                                       MOTION TO DISMISS

         Under Federal Rule of Civil Procedure 41(a), Display Technologies, LLC (“Display”)

  dismisses its claims against JK Imaging Ltd. with prejudice and each party bears its own attorneys’

  fees and costs.
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         DATED March 7, 2016.                           Respectfully submitted,

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                                                        ATTORNEYS FOR PLAINTIFF
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                                   CERTIFICATE OF SERVICE

          I hereby certify that on the 7th day of March, 2016, I electronically filed the foregoing
  document with the clerk of the court for the U.S. District Court, Eastern District of Texas, Marshall
  Division, using the electronic case filing system of the court. The electronic case filing system
  sent a “Notice of Electronic Filing” to the attorneys of record who have consented in writing to
  accept this Notice as service of this document by electronic means.

                                                /s/ Neal Massand
                                                Neal Massand
